
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1466

                                   JAMES DOMINIQUE,

                                Plaintiff, Appellant,

                                          v.

                                WILLIAM WELD, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________
                                 ____________________

                                        Before

                                Boudin,* Circuit Judge,
                                         _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Stahl, Circuit Judge.
                                         _____________
                                 ____________________

            Wendy B. Golenbock, for appellant.
            __________________
            Stephen  G. Dietrick,  Deputy  General Counsel,  with  whom  Nancy
                                   _______________________
        Ankers  White,  Special Assistant  Attorney  General,  and Herbert  C.
                        ____________________________________
        Hanson,  Senior  Litigation   Attorney,  Massachusetts  Department  of
                 _____________________________
        Correction, were on brief for appellees.

                                 ____________________

                                   January 18, 1996
                                 ____________________




                            
        ____________________

        *Judge  Boudin  heard  oral  argument  in  this  matter  but  has  not
        participated  in the issuance of  the panel's opinion.   The remaining
        two  panelists therefore  issue  this opinion  pursuant  to 28  U.S.C.
          46(d).















                      CAMPBELL,  Senior Circuit  Judge.   Plaintiff James
                                 _____________________

            Dominique, a  sentenced  inmate in  the Massachusetts  prison

            system, was returned to confinement after he had been allowed

            to participate  in a  work  release program  for almost  four

            years.  He appeals from the district court's refusal to order

            reinstatement of his work release status and its dismissal of

            his related claims,  brought under 42 U.S.C.   1983, alleging

            violations  of  the  Due  Process Clause  of  the  Fourteenth

            Amendment  and the Ex Post  Facto Clause.   We affirm, albeit

            for  different  reasons  in  light of  recent  Supreme  Court

            decisions.



            I. Facts
            I. Facts

                      Plaintiff  was  imprisoned  in  1983  for  multiple

            crimes including incest and is scheduled for release  in June

            2000.   In  August 1987,  he was  transferred to  the minimum

            security Massachusetts Correctional Institution  at Lancaster

            ("MCI-Lancaster").   In May 1988, the  Superintendent of MCI-

            Lancaster  permitted him  to  renew his  driver's license  in

            connection with work he was then doing on state vehicles.  In

            August 1990,  plaintiff was  approved for the  Community Work

            Release   Program.     He  became   a  mechanic   for  R.M.J.

            Transportation, Inc., and the following year was permitted to

            open his own vehicle repair business.  





                                         -2-















                      Plaintiff  remained  in good  standing in  the work

            release program.  However,  in the summer of 1993,  access to

            his license and the keys to his personal vehicle was revoked,

            causing him to  lose his job  at R.M.J. Transportation.    In

            April  of 1994, he was removed from the work release program.

            On May 5, 1994, because he was deemed a security risk, he was

            transferred from MCI-Lancaster to a medium security facility,

            MCI-Shirley.  No hearing occurred before the latter transfer,

            but reclassification hearings were subsequently held  on June

            13 and September 23,  1994.  Each time, a  committee majority

            recommended   plaintiff's  transfer   to  a   lower  security

            facility.  The  Commissioner overruled these recommendations.

            Plaintiff remains at MCI-Shirley.

                      Defendants1  say  that  they   revoked  plaintiff's

            privileges  because he  remains  in denial  of his  crime (in

            particular,  the  incest),  and  because he  had  too  little

            accountability at  his repair business.   They justify taking

            away  plaintiff's license  because of revised  DOC guidelines

            providing that only inmates within six  months of an approved

            release  date are eligible to  use their licenses.   They add

            that his  crime makes him  a risk to  the public safety,  and

            that,  having been  denied parole on  three occasions,  he is

                                
            ____________________

            1.     The   defendants   are  William   Weld,   Governor  of
            Massachusetts,  Thomas  Rapone,   then-Commissioner  of   the
            Department of Public Safety, Larry E. Dubois, Commissioner of
            the Massachusetts Department of Correction, and Luis Spencer,
            Superintendent of MCI-Lancaster.

                                         -3-















            more likely to attempt to escape.  Plaintiff responds that he

            has  never violated  any condition  of the  Community Release

            Agreement  ("Agreement").2    He  claims  that  his   removal

            resulted from media and public uproar following an incident -

            -  wholly  unrelated to  him  --  in which  an  MCI-Lancaster

            escapee shot a police  officer.  Plaintiff was never  given a

            written  statement   of  reasons   for  his  removal.     New

            regulations concerning the  treatment of  sex offenders  make

            plaintiff presently ineligible for work release.

                      In  his  district court  action,  plaintiff alleged

            that these  changes in  his status violated  the Due  Process

            Clause  of the  Fourteenth Amendment  and the  Ex Post  Facto

            Clause.  He requested  a preliminary injunction ordering that

            he  be reinstated to the work release program.  In dismissing

            the due process claim, the district court held that plaintiff

            had shown  neither  a constitutionally-derived  nor a  state-

                                
            ____________________

            2.    The  Community  Release Agreement  for  Lancaster  pre-
            release programs  requires a participating  inmate to signify
            his understanding  that "[i]n accepting and  participating in
            community  release  programs  including  all  furloughs, work
            release,   and   education   release    opportunities,   [he]
            voluntarily accept[s]  the following conditions . . . ."  The
            participant cannot leave the state, cannot leave his assigned
            location during breaks  unless authorized to  do so, must  be
            aware  of specific  requirements  and arrangements  for  each
            specific  release  activity,  must  cooperate  with requested
            medical examinations  or searches of lockers  or outside work
            areas, and must conduct himself generally "in accordance with
            the laws of the state and community."
                 The Agreement states that "[a]ny violation  of community
            release  policies will  result in  [the participant's]  being
            subject to disciplinary action or prosecution and will not be
            considered in the future community participation requests."

                                         -4-















            created  liberty interest.    This being  so, the  Fourteenth

            Amendment  did not  require the  state to  provide procedures

            prior to removing him  from the program and returning  him to

            prison.  The district court also found no violation of the Ex

            Post  Facto  Clause,  because the  new  regulations governing

            participation in  work release  were not punitive  but rather

            related to the  public safety.   The court denied  injunctive

            relief, as plaintiff had not shown a likelihood of success on

            the merits.3    

                            

            II. Standard of Review
            II. Standard of Review

                 The  district  court  dismissed  plaintiff's  claims  in

            response  to  defendants'  motion   in  the  alternative  for

            dismissal under Fed.  R. Civ. P. 12(b)(6) or Fed.  R. Civ. P.

            56.    The  district  court recited  the  standard  governing

            12(b)(6)  motions  to dismiss,  but  it  relied  in  part  on

            materials outside  of the pleadings  (including the Agreement

            and  affidavits)  to determine  whether  plaintiff enjoyed  a

            protected liberty  interest entitling  him to procedural  due

            process before  removal from  the work release  program.   We


                                
            ____________________

            3.   The  district court dismissed plaintiff's  pendant state
            law   claims  without   prejudice,  pursuant  to   28  U.S.C.
             1367(c)(3).  While  appellant's   counsel  claimed  at  oral
            argument  a lack  of substantive  as well  as procedural  due
            process,  the former theory is not briefed nor does it appear
            to have  been developed below.   Accordingly, it  was waived.
            See Grella  v. Salem Five Cent Sav. Bank, 42 F.3d 26, 36 (1st
            ___ ______     _________________________
            Cir. 1994).     

                                         -5-















            therefore  treat the motion as one for summary judgment.  See
                                                                      ___

            Smith v.  Massachusetts Dep't  of Correction, 936  F.2d 1390,
            _____     __________________________________

            1394 (1st Cir. 1991); Fed. R.  Civ. P. 12(b)(6).  We review a

            grant of summary judgment  de novo, viewing the facts  in the
                                       _______

            light most favorable  to the nonmovant, plaintiff.   Coyne v.
                                                                 _____

            Taber Partners I, 53 F.3d 454, 457 (1st Cir. 1995).
            ________________



            III. Due Process Clause of the Fourteenth Amendment
            III. Due Process Clause of the Fourteenth Amendment

                 A. The District Court Decision
                 A. The District Court Decision

                      The  Fourteenth  Amendment provides  that  no state

            shall  "deprive  any person  of  life,  liberty, or  property

            without due  process of law."   U.S. Const. amend.  XIV.  The

            focal  issue  here is  whether  plaintiff was  deprived  of a

            protected liberty interest.   Plaintiff has not asserted that

            he  possessed  a  liberty  interest created  by  the  federal

            Constitution   itself.4    Rather,   he  has  contended  that


                                
            ____________________

            4.    The  Supreme  Court  has recognized  that,  in  certain
            circumstances,  the Constitution  itself may  give rise  to a
            liberty interest.  See, e.g.,  Washington v. Harper, 494 U.S.
                               ___  ____   __________    ______
            210,   221-222   (1990)   (involuntary    administration   of
            antipsychotic  drugs); Vitek  v. Jones,  445 U.S.  480 (1980)
                                   _____     _____
            (involuntary  commitment to a  mental hospital); Morrissey v.
                                                             _________
            Brewer,  408   U.S.  471   (1972)  (revocation   of  parole).
            ______
            Generally,  prisoners   under  confinement  do   not  have  a
            constitutionally-derived liberty interest.  See, e.g., Hewitt
                                                        ___  ____  ______
            v. Helms,  459 U.S.  460  (1983) (state  action taken  within
               _____
            sentence  imposed);  Meachum v.  Fano,  427  U.S. 215  (1976)
                                 _______     ____
            (transfer  to higher  security prison);  Bowser v.  Vose, 968
                                                     ______     ____
            F.2d 105, 106 (1st Cir. 1992) (denial of furlough); Lanier v.
                                                                ______
            Fair, 876  F.2d 243, 246  (1989) (removal from  halfway house
            ____
            program);  Brennan v.  Cunningham, 813  F.2d  1, 6  (1st Cir.
                       _______     __________
            1987) (same).  

                                         -6-















            Massachusetts  state  regulations and  the  Community Release

            Agreement established a state-created liberty  interest which

            defendants could not take away without providing due process.

            The  regulations and Agreement, he argued, cabined officials'

            discretion and  led him legitimately  to expect to  remain in

            the work release program  so long as he did not  violate some

            express condition.   Dominique relied on cases holding that a

            liberty  interest  may be  created  by  "explicitly mandatory

            language" within  state regulations.   See Kentucky  Dep't of
                                                   ___ __________________

            Corrections v. Thompson, 490 U.S. 454,  463 (1989); Hewitt v.
            ___________    ________                             ______

            Helms, 459  U.S.  460,  471-472  (1983);  see  also  Olim  v.
            _____                                     ___  ____  ____

            Wakinekona,  461   U.S.  238,  249   (1983)  ("particularized
            __________

            standards or criteria [to] guide the State's decisionmakers")

            (citation  omitted).   Dominique  pointed  to  cases of  this

            circuit holding that  a signed  agreement outlining  criteria

            for  participation  in  and  removal from  a  prison  release

            program  may  evidence  a  state-created   liberty  interest.

            Lanier  v. Fair,  876 F.2d  243 (1st  Cir. 1989);  Brennan v.
            ______     ____                                    _______

            Cunningham, 813 F.2d 1 (1st Cir. 1987).
            __________

                                
            ____________________

                 The    Tenth    Circuit     recently    recognized     a
            constitutionally-derived liberty interest in a case involving
            a  state pre-parole  conditional  supervision program.    See
                                                                      ___
            Harper  v. Young, 64 F.3d  563, 566 (10th  Cir. 1995) (citing
            ______     _____
            Edwards v. Lockhart,  908 F.2d 299,  302-303 (8th Cir.  1990)
            _______    ________
            for the  proposition that parole  and work release  should be
            viewed on a continuum, with the program at issue more closely
            resembling  parole because  it allowed  a convict  "to exist,
            albeit conditionally, in society on a full-time basis").

             

                                         -7-















                      The district court  analyzed the state  regulations

            and  Agreement under  Thompson,  Hewitt, Olim  criteria.   It
                                  ________   ______  ____

            concluded that the language relating to Dominique's  interest

            in participating  and remaining  in the work  release program

            was  too provisional  to create  a constitutionally-protected

            liberty interest.  Neither  the regulations nor the Agreement

            required officials to grant  work release status initially or

            indefinitely.      Despite   certain   similarities   between

            plaintiff's  Agreement and agreements  in Brennan and Lanier,
                                                      _______     ______

            the  district   court  determined  that,   under  our  latest

            precedent,   language  of  a  more  mandatory  character  was

            essential.5 

                      Plaintiff appealed.   Within  a week of  filing his

            appellate  brief, the  Supreme  Court issued  its opinion  in

            Sandin  v.  Conner,   infra,  modifying   the  standard   for
            ______      ______    _____

            determining   the  existence   of  a   state-created  liberty

            interest.  


                                
            ____________________

            5.   See Bowser v. Vose, 968 F.2d 105, 108 (1st Cir. 1992) (a
                 ___ ______    ____
            regulation providing that "[a]  resident who satisfies one of
            the  [six enumerated]  purposes . . . shall  be  eligible for
            furlough" was insufficient to  create a liberty interest, for
            "[a]bsent  from  the   regulations  . . . is  any   mandatory
            language directing  that a  furlough must  be granted  to any
                                                 ____
            inmate who satisfies the  eligibility requirements"); Rodi v.
                                                                  ____
            Ventetuolo,  941  F.2d  22,   25  (1st  Cir.  1991)  (clearly
            __________
            mandatory  regulatory  language  placed definite  substantive
            limits on officials' actions,  as state conceded); Smith, 936
                                                               _____
            F.2d at 1397 (court reserved judgment  on the inmate contract
            because of a misconduct-based violation, but noted a  lack of
            mandatory language  limiting discretion in  both the contract
            and the regulations).

                                         -8-















                 B. Sandin v. Conner
                    Sandin v. Conner
                    ______    ______

                      In  Sandin v. Conner, 115 S. Ct. 2293 (1995) (5-4),
                          ______    ______

            the Court criticized its  former precedent under which courts

            examined the  language in  state statutes and  regulations to

            determine  whether  a liberty  interest  was  created.   This

            doctrine "encouraged prisoners to  comb regulations in search

            of  mandatory  language  on  which to  base  entitlements  to

            various state-conferred privileges."  Id. at 2299.  The Court
                                                  ___

            expressed two  policy concerns:  its  prior approach "creates

            disincentives   for  States   to  codify   prison  management

            procedures in the interest  of uniform treatment."  Id.   The
                                                                ___

            old  approach also  "has led  to the  involvement of  federal

            courts in the day-to-day  management of prisons," contrary to

            cases affording  state  officials appropriate  deference  and

            flexibility in prison management.  Id.
                                               ___

                      The Court held that states may still create liberty

            interests that afford prisoners due process protections,  but

            explained:

                      [T]hese   interests  will   be  generally
                      limited to freedom from  restraint which,
                      while not exceeding the sentence  in such
                      an unexpected  manner as to  give rise to
                      protection by  the Due Process  Clause of
                      its own force . . . , nonetheless imposes
                      atypical and significant hardship  on the
                      _________________________________________
                      inmate  in  relation   to  the   ordinary
                      _________________________________________
                      incidents of prison life. 
                      ________________________

            Id. at 2300 (internal citations omitted) (emphasis supplied).
            ___

            Applying this standard  to the situation in Sandin, the Court
                                                        ______



                                         -9-















            concluded  that disciplining  a prisoner  for thirty  days in

            segregated confinement "did not present the type of atypical,

            significant deprivation  in which a  state might  conceivably

            create a liberty interest."  Id. at 2301.
                                         ___

                 C. Applying Sandin
                 C. Applying Sandin
                             ______

                      Defendants argue that Sandin requires this court to
                                            ______

            affirm  the district  court's  dismissal  of plaintiff's  due

            process  claim.   They agree  with the  lower court  that the

            language of the regulations and Agreement was insufficient to

            create  a  liberty  interest in  any  event,  but argue  that

            removal from  work release and return  to regular confinement

            did not meet Sandin's new threshold criterion of an "atypical
                         ______

            and significant  hardship . . . in  relation to  the ordinary

            incidents  of  prison  life."   Id.  at  2300.   If  solitary
                                            ___

            confinement for thirty days  did not, in Sandin, rise  to the
                                                     ______

            level of  an  "atypical, significant  hardship," then  surely

            removal from work release does not do so, defendants say.  

                      Plaintiff  replies that Sandin is unclear about the
                                              ______

            extent  to  which  the   standard  for  recognizing   liberty

            interests has changed.  He argues that the Due Process Clause

            still  protects inmates  against important  deprivations, and

            that  removal  from work  release  and transfer  to  a higher

            security  prison  constitute  an  "atypical  and  significant

            hardship."  





                                         -10-















                      We  have some  sympathy for  plaintiff's complaint.

            His  removal  from a  work release  program  in which  he was

            apparently  functioning well,  and his  transfer to  a medium

            security facility,  may  well,  from  his  perspective,  seem

            unjust.  But  the federal courts are not authorized by law to

            second-guess  the  policies  of prison  administrators  in  a

            general sense.    The  question assigned  to  us  is  whether

            plaintiff had a liberty interest in remaining in work release

            status,  such  that under  the  Fourteenth  Amendment he  was

            entitled to due process of law before that privilege could be

            revoked.   We are  constrained to agree  with defendants that

            the new  threshold test  articulated in Sandin  precludes our
                                                    ______

            finding a liberty interest and bars relief.6  

                 As in Sandin, the state's action here did not in any way
                       ______

            affect  the duration of Dominique's state  sentence.  See id.
                                                                  ___ ___

            at 2301-2302.   Additionally, his transfer  to a more  secure

            facility subjected him to  conditions no different from those

            ordinarily  experienced  by large  numbers  of other  inmates

            serving their sentences in customary fashion.  In Sandin, the
                                                              ______

            Supreme  Court observed  that  conditions  in the  segregated

            confinement at issue "mirrored  those conditions imposed upon

            inmates   in   administrative   segregation  and   protective

                                
            ____________________

            6.  Sandin  applies retroactively  to the  present  case, the
                ______
            Supreme Court having applied the rule  announced in Sandin to
                                                                ______
            the parties in  that case.   See Rivers  v. Roadway  Express,
                                         ___ ______     _________________
            Inc.,  114 S. Ct. 1510, 1519 (1994); Harper v. Virginia Dep't
            ____                                 ______    ______________
            of Taxation, 113 S. Ct. 2510, 2517 (1993).
            ___________

                                         -11-















            custody."  Id. at  2301 (footnote omitted).  The  Court found
                       ___

            support in this similarity  for the proposition that "[b]ased

            on   a  comparison   between   inmates  inside   and  outside

            disciplinary  segregation, the State's actions in placing him

            there  for 30  days did  not work  a major disruption  in his

            environment."   Id. (footnote omitted).   Similarly here, any
                            ___

            hardship  was  not "atypical"  in  relation  to the  ordinary

            incidents of prison life.

                      It is true that  there is a considerable difference

            between the freedoms  Dominique enjoyed when  he was in  work

            release  status  and the  conditions  of  incarceration at  a

            medium security  facility.  To return  from the quasi-freedom

            of work  release to  the  regimentation of  life within  four

            walls  may  be said,  relatively  speaking,  to have  been  a

            "significant" deprivation.   Nonetheless, confinement  within

            four  walls of the type plaintiff now endures is an "ordinary

            incident of prison life."   It is not "atypical."   The Court

            has noted  that an  inmate's subjective expectations  are not
                                         __________

            dispositive of  the liberty-interest analysis.   See id., 115
                                                             ___ ___

            S.Ct. at 2301 n.9.

                      If Dominique's  contrary argument were  to prevail,

            we would  open the door to  finding an "atypical...restraint"

            whenever  an  inmate  is  moved   from  one  situation  to  a

            significantly harsher one that is, nonetheless, a commonplace

            aspect of prison  existence.  For example, a liberty interest



                                         -12-















            could  be claimed if an inmate were moved into less agreeable

            surroundings  than  his  initial  placement.    Similarly,  a

            liberty interest might be claimed whenever authorities or the

            state  legislature  decided to  eliminate  or  cut back  work

            release  programs or  furloughs.   Such  changes, painful  to

            those affected, could be  regarded under plaintiff's argument

            as implicating liberty interests even though the prisoner was

            never placed in conditions  going beyond the customary rigors

            of  prison life.  Such an outcome, we believe, would directly

            conflict with Sandin's teachings.   Sandin's new standard was
                          ______                ______

            expressly  adopted by  a majority  of  the Supreme  Court "to

            afford  appropriate   deference  and  flexibility   to  state

            officials trying  to manage a volatile environment."   Id. at
                                                                   ___

            2299.   The Court plainly intended to eliminate the basis for

            federal due process  claims stemming from internal  transfers

            and status changes that do not result in "atypical hardship,"

            i.e.,  hardship beyond  the  norms of  ordinary prison  life.
            ____

            Hence the state's removal  of Dominique's measure of freedom,

            replacing it  with confinement of a  sort commonly associated

            with  ordinary prison life, did not violate anything that can

            be termed a liberty  interest.  See Klos v.  Haskell, 48 F.3d
                                            ___ ____     _______

            81  (2d Cir.  1995)  (a  pre-Sandin  case denying  relief  on
                                         ______

            strikingly similar  facts,  cited with  apparent approval  in

            Sandin, 115 S. Ct. at 2299-2300).
            ______





                                         -13-















                      Plaintiff  urges  that execution  of  the Agreement

            shows  that a matter sufficiently important to give rise to a

            liberty  interest is at stake.  Prison officials, it is said,

            do  not enter  into  agreements with  inmates concerning  the

            ordinary incidents  of prison  life.   As the  district court

            found, however, the  Agreement preserved broad decisionmaking

            authority  of state  officials  and the  regulations did  not

            impose any  duty  to retain  plaintiff  in the  work  release

            program.    And,  that  analysis aside,  withdrawal  of  work

            release privileges  did not  meet Sandin's threshold  test of
                                              ______

            working a  "significant and atypical hardship  in relation to

            the  ordinary incidents of prison life."  While we may regret

            the   disappointment   and  frustration   inherent   in  such

            withdrawal, the hardship  was not "atypical."   Cf. Bulger v.
                                                            ___ ______

            United  States Bureau of Prisons, 65 F.3d 48, 49-50 (5th Cir.
            ________________________________

            1995)  (inmate terminated  from a  prison job  permitting the

            automatic  accrual of  good-time  credits lacked  a protected

            liberty interest,  despite  apparent  violation  of  a  state

            regulation); see also  Mitchell v. Dupnik,  67 F.3d 216,  221
                         ___ ____  ________    ______

            (9th Cir. 1995) (inmate  lacked a protected liberty interest,

            despite   corrections   officer's    violation   of    prison

            regulations);  Orellana v.  Kyle, 65 F.3d  29, 32  (5th Cir.)
                           ________     ____

            ("the  ambit of  [prisoners'] potential  Fourteenth Amendment

            due process liberty claims has been dramatically narrowed" by





                                         -14-















            Sandin), petition for cert. filed, (U.S.  Sep. 15, 1995) (No.
            ______   ________________________

            95-6743).

                      Under  the standard  announced  in Sandin,  we hold
                                                         ______

            that  plaintiff's loss  of  work release  privileges did  not

            affect any  state-created liberty interest of  his, hence did

            not violate the Due Process Clause.7  



            IV. Ex Post Facto Clause
            IV. Ex Post Facto Clause

                      Plaintiff asserts a violation  of the Ex Post Facto

            Clause  based  on  a   new  state  regulation  governing  the

            treatment and  movement of  sex offenders from  commitment to

            release.   See  103  DOC     446.8    The  regulation  became
                       ___

                                
            ____________________

            7.    The inmate  in Sandin  based his  claim to  a protected
                                 ______
            liberty interest on state  regulations alone, and not on  any
            written agreement  with the state,  as is also  present here.
            The parties have not  argued that Sandin is  inapplicable for
                                              ______
            this reason.  This court's prior relevant cases  have applied
            a language-focused approach  to the state scheme as  a whole,
            whether or not an  agreement was involved.  See,  e.g., Rodi,
                                                        ___   ____  ____
            941  F.2d at 26 ("Our own precedents similarly teach that the
            appropriate  [Thompson/Hewitt] constitutional  analysis looks
                          ________ ______
            beyond   the  State's   statutes  to   administrative  rules,
            regulations,  contractual  commitments,   and  the   like.");
            Lanier, 876 F.2d at 248.
            ______

            8.    The Sex  Offender Treatment  policy applies  to inmates
            serving a  sentence for  or convicted  in the  past of  a sex
            offense, or serving a sentence for a non-sexual offense where
            "[t]here are sexual overtones in  the reading of the official
            version of a crime for which the inmate may have been charged
            and  sentenced."   103 DOC  446.08.   The  policy's expressed
            goal is "to create a system  in which there is a continuum of
            service from the  time an  inmate with such  a background  is
            committed,  until he/she  is released  to the  community, and
            hopefully beyond."  Id.   446.07.  
                                ___
                 The policy requires identified sex offenders to complete
            a four-phase treatment program  at a medium security facility

                                         -15-















            effective  in  October  1994,  at which  time  plaintiff  was

            incarcerated  at the medium security facility to which he had

            been  transferred following  his  removal from  work  release

            earlier  that   year.     Plaintiff  does  not   dispute  the

            Commonwealth's contention  that under  the regulation, he  is

            presently  ineligible  to  participate in  the  work  release

            program.  While the district court did not articulate a basis

            for  this  ineligibility  (instead  assuming  that  was  so),

            plaintiff appears  to be an  identified sex offender  who may

            not be moved to a minimum  security facility, with associated

            privileges,  unless  and until  he  successfully completes  a

            treatment program,  admits his offense, and otherwise obtains

            approval  for  a transfer.    See id.      446.07, 446.08(4),
                                          ___ ___

            446.13. 

                      The district court  rejected plaintiff's claim that

            the regulation amounted  to punishment applied  retroactively

            to  plaintiff's  offense.     The  court  reasoned  that  the

            regulation  was "driven  by  safety concerns,  and  not by  a




                                
            ____________________

            as  a  precondition  for   transfer.    It  outlines  further
            transition phases and evaluation processes as well.  Transfer
            appears  ultimately  possible   absent  "program   failures,"
            defined to  include inmates  who  remain in  denial of  their
            offense, those  who "refuse  to participate or  minimize with
            regard  to their  offense(s),"  and those  at the  non-secure
            facility treatment phase who move toward relapse or otherwise
            become  "at risk."    Id.    446.13.   The  regulations  also
                                  ___
            contain a  sex offender "notice of  release" provision, which
            is not at issue in this appeal.  See id.   446.14.
                                             ___ ___

                                         -16-















            desire  to  impose  further  punishment on  prisoners."    We

            affirm, again guided by a recent Supreme Court decision.9

                      The Ex  Post Facto  Clause provides that  "No State

            shall . . . pass  any . . . ex post facto Law."   U.S. Const.

            art.  I   10.   Ex post  facto laws include  "'every law that

            changes the  punishment, and  inflicts a  greater punishment,

            than  the law annexed to the crime, when committed.'"  Miller
                                                                   ______

            v. Florida, 482 U.S. 423, 429 (1987) (quoting Calder v. Bull,
               _______                                    ______    ____

            3 U.S. (Dall.) 386, 390 (1798)).  

                      Defendants have not argued that the new  regulation

            is  not a "law"  for ex post  facto purposes.   There is some

            disagreement among the  circuits on this matter.   Cf. Bailey
                                                               ___ ______

            v.  Noot,  503  U.S.  952, cert.denied,  (1992)  (White,  J.,
                ____                   ___________

            dissenting) (noting  circuit split on whether  Clause applies

            to revised  state parole regulations).10   In  past cases  we

                                
            ____________________

            9.   Plaintiff's ex  post facto  claim is not  barred by  our
            above  ruling that he lacks a protected liberty interest.  As
            the Supreme Court has stated, "Evaluating whether a right has
            vested  is important  for claims under  the Contracts  or Due
            Process   Clauses,   which   solely    protect   pre-existing
            entitlements  . . . .     The  presence  or   absence  of  an
            affirmative, enforceable right  is not relevant,  however, to
            the ex post facto prohibition. .  . ."  Weaver v. Graham, 450
                                                    ______    ______
            U.S.  24, 29-30 (1981); Jones v. Georgia State Bd. of Pardons
                                    _____    ____________________________
            &amp; Paroles, 59 F.3d 1145, 1148 n.6 (11th Cir. 1995).  
            _________

            10.  The  dispute  appears  to  turn  on  whether a  rule  is
            legislative (based on a delegation of statutory authority) or
            merely  interpretive,  and  whether  a  legislative  rule  is
            binding or merely guides the exercise of discretionary power.
            See, e.g., Jones,  59 F.3d  at 1149 n.8  (applying Clause  to
            ___  ____  _____
            state  parole   rules  and   comparing  cases);   Kellogg  v.
                                                              _______
            Shoemaker,  46 F.3d 503,  509 (6th Cir.)  (applying Clause to
            _________
            binding  parole regulations),  cert. denied,  116 S.  Ct. 120
                                           ____________

                                         -17-















            have applied the Clause to the federal Sentencing Guidelines,

            see,  e.g., United States v. Harotunian, 920 F.2d 1040, 1041-
            ___   ____  _____________    __________

            1042 (1st Cir. 1990), and rules issued by a state agency, see
                                                                      ___

            Martel  v.  Fridovich,   14  F.3d  1,   3  (1st  Cir.   1993)
            ______      _________

            (Massachusetts  Department of  Mental Health).   We  need not

            address  the  possible  limits  of these  holdings,  for  the

            parties  have  not  raised the  issue  and  we  find that  no

            violation occurred, even  assuming arguendo  that the  Clause

            applies  to the regulation at issue.  Accord Hamm v. Latessa,
                                                  ______ ____    _______

            Nos. 94-2018, 94-1999, slip  op. at 21 &amp; n.14  (1st Cir. Dec.

            27, 1995)  (declining to decide whether  a parole eligibility

            policy was a "law" for ex post facto purposes).

                      The Supreme Court has  reiterated recently that the

            proper focus of ex post facto inquiry is whether the relevant

            change  "alters  the   definition  of  criminal  conduct   or

            increases  the  penalty  by  which a  crime  is  punishable."
            _______________________

            California Dep't of Corrections v. Morales, 115  S. Ct. 1597,
            _______________________________    _______

            1602  n.3 (1995)  (emphasis  supplied); see  also Collins  v.
                                                    ___  ____ _______

            Youngblood, 497 U.S.  37, 43  (1990) (citing  Calder, 3  U.S.
            __________                                    ______

            (Dall.) at 391-392).  Morales examined a California statutory
                                  _______

            amendment which authorized the Board of Prison Terms to defer

                                
            ____________________

            (1995) and  116 S. Ct. 274  (1995); Francis v.  Fox, 838 F.2d
                                                _______     ___
            1147,  1149-1150 (11th  Cir. 1988)  (holding that  state work
            release  regulation was not an ex post facto "law"); Faruq v.
                                                                 _____
            Herndon, 831 F. Supp. 1262, 1279-1280  (D. Md. 1993) (holding
            _______
            that  work release  and  security classification  regulations
            were not ex post facto "laws"), aff'd, Briscoe v. Herndon, 56
                                            _____  _______    _______
            F.3d 60 (4th Cir. 1995).

                                         -18-















            for  up  to  three  years  parole  suitability  hearings  for

            multiple murderers.    The  Court  found  no  ex  post  facto

            violation,  because the  amendment  "create[d] only  the most

            speculative  and  attenuated  possibility  of  producing  the

            prohibited effect of increasing the measure of punishment for

            covered crimes."  Morales, 115 S. Ct. at 1603.  The Court did
                              _______

            not  develop  a  precise  formula;  rather,  it  said,  these

            judgments "must  be  a matter  of 'degree.'"   Id.  (internal
                       ____                                ___

            citation omitted).   It stated,  however, that a  change that

            "simply 'alters the method to be followed' in fixing a parole

            release date under identical substantive standards," but does

            not change the applicable sentencing range, was insufficient.

            Id.  at  1602  (internal  citation omitted);  cf.  Miller  v.
            ___                                           ___  ______

            Florida, 482 U.S. 423 (1987) (violation found where statutory
            _______

            amendment increased presumptive  sentencing range for certain

            sexual offenses  and permitted departure only  for "clear and

            convincing reasons");  Weaver v.  Graham, 450 U.S.  24 (1981)
                                   ______     ______

            (violation  found  where  the statute  retroactively  reduced

            "gain  time" credits  to prisoners,  thereby  eliminating the

            lower end of the possible range of prison terms).

                      The question  here, as  in Morales, is  whether the
                                                 _______

            instant regulation "increases the penalty by which a crime is

            punishable."   Morales, 115  S. Ct. at  1602 n.3.   It can be
                           _______

            argued that  the regulation increases the  penalty because it

            subjects Dominique to a different and stricter prison regime:



                                         -19-















            unless  and  until he  successfully completes  the prescribed

            treatment  program and admits  to a crime  he continually has

            denied,  he must  remain confined  at no  less than  a medium

            security   facility  and  remain  ineligible  for  privileges

            associated with  lower security  imprisonment.  We  conclude,

            however, that  this change in the  conditions determining the

            nature  of his confinement while  serving his sentence was an

            allowed alteration in  the prevailing  "legal regime"  rather

            than  an "increased penalty" for ex post facto purposes.  See
                                                                      ___

            id.  at 1603  n.6;  cf. In  re  Medley, 134  U.S.  160 (1890)
            ___                 ___ ______________

            (discussing  extreme  penalty  of  solitary  confinement  and

            finding  an  ex post  facto  violation  where a  new  statute

            required a prisoner to serve four weeks in complete isolation

            before being executed  at a  time unknown to  him); see  also
                                                                _________

            Ewell  v. Murray,  11 F.3d  482, 487  (4th Cir.  1993), cert.
            _____     ______                                        _____

            denied, 114 S. Ct. 2112 (1994) (finding that a new regulation
            ______

            punishing a prisoner's refusal  to submit to a DNA test  by a

            loss of good-time credits and possible isolated placement for

            up  to 15  days was not  an ex  post facto  violation but was

            "reasonably within  the  administrative structure  of  prison

            authority that attends every sentence").  

                      The   change   does  not   affect  the   length  of

            Dominique's sentence or his parole options.  Cf. Morales, 115
                                                         ___ _______

            S.  Ct. at  1603  &amp; n.6  (emphasizing  speculative effect  on

            prisoner's actual  term of confinement, and  stating that the



                                         -20-















            ex post facto clause  does not "require that the  sentence be

            carried out under the  identical legal regime that previously

            prevailed"); Hamm, slip op.  at 28 (finding no ex  post facto
                         ____

            violation  where a  revised parole  policy which  postponed a

            prisoner's initial  parole  hearing presented  a  speculative

            risk  of extending his sentence).   Compare Vargas v. Pataki,
                                                _______ ______    ______

            899  F. Supp.  96,  99 (N.D.N.Y.  1995) (statutory  amendment

            making an applicant for work  release no longer eligible  was

            not an ex post facto  violation) with Knox v. Lanham, 895  F.
                                             ____ ____    ______

            Supp.   750,   758   (D.Md.   1995)   (change   in   security

            classification and work release policies violated the ex post

            facto clause where they  "directly impact[ed] upon  [lifers']

            actual eligibility for parole").  

                      While the matter is perhaps close, we conclude that

            plaintiff  has  not  satisfied   his  burden  of  showing  an

            increased penalty for  his crime.  See Morales, 115 S. Ct. at
                                               ___ _______

            1602  n.3   (challenging  party  has   "ultimate  burden   of

            establishing  that  the  measure  of  punishment  itself  has

            changed").   The regulation  appears primarily to  affect the

            methods  followed to treat certain sex offenders for a period

            of  time,  e.g.,  with   regard  to  facility  placement  and
                       ____

            treatment  programs.   The  Ex  Post  Facto Clause  does  not

            encourage  close scrutiny  by the  federal courts  of ongoing

            procedural or  operational changes in  prisons to  coordinate





                                         -21-















            treatment, promote security,  and protect the public  safety.

            See id. at 1603; Martel, 14 F.3d at 2.
            ___ ___          ______



            Affirmed.
            _________













































                                         -22-









